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                                                                      10                       UNITED STATES DISTRICT COURT
MALTZMAN & PARTNERS




                                                                      11                     CENTRAL DISTRICT OF CALIFORNIA
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                                                                      12 SUSAN DORETY INDIVIDUALLY   CASE NO.: 2:20-CV-03507-RGK-SK
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         AND ON BEHALF OF THE ESTATE
                                                                      13 OF MICHAEL DORETY,
                                   ENCINITAS, CA 92024




                                                                                                     DEFENDANT PRINCESS CRUISE
                                                                      14                             LINE LTD.’S MOTION TO DISMISS
                                                                                  Plaintiffs,
                                                                      15 vs.

                                                                      16 PRINCESS CRUISE LINES, LTD.,               Date: August 31, 2020
                                                                                                                    Time: 9:00 a.m.
                                                                      17                                            Judge: Hon. R. Gary Klausner
                                                                                       Defendant.                   Courtroom: 850
                                                                      18

                                                                      19                                            Magistrate: Hon. Steve Kim
                                                                                                                    Filed: 04/15/2020
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                                                                            DEFENDANT’S MOTION TO DISMISS                                                                      2:20-CV-03507-RGK-SK
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                                                                       1         Defendant, PRINCESS CRUISE LINES, LTD. hereby files this Motion to
                                                                       2 Dismiss the First Amended Complaint filed by Plaintiffs herein. For the reasons set

                                                                       3 forth below, Plaintiffs’ First Amended Complaint (ECF No. 32) should be

                                                                       4 dismissed.

                                                                       5         This motion is made following several conferences of counsel pursuant to
                                                                       6 L.R. 7-3 which took place on June 10, 2020, July 2, 2020 and July 8, 2020.

                                                                       7 I.      INTRODUCTION
                                                                       8         This case should be dismissed because the Plaintiff fails to allege any facts to
                                                                       9 support a claim for relief on her own behalf and because she lacks standing to sue on

                                                                      10 behalf of the decedent or his estate. This is a maritime wrongful death case brought
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                                                                      11 by Plaintiff Susan Dorety individually and on behalf of the Estate of Michael
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                                                                      12 Dorety. The First Amended Complaint contains two counts: Negligence and Gross
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                                                                      13 Negligence. The Doretys were aboard the Grand Princess cruise that began on
                                   ENCINITAS, CA 92024




                                                                      14 February 21, 2020 in San Francisco, California. (Am. Compl. ¶ 9.) Among their

                                                                      15 theories, Plaintiffs allege that Defendant was negligent in failing to warn about the

                                                                      16 potential exposure to COVID-19 “during the sailing of said cruise,” and that

                                                                      17 Defendant failed to inform Plaintiffs of the risk of actual exposure to COVID-19

                                                                      18 “while they were already onboard.” (Am. Compl. ¶25.) Plaintiffs allege that as a

                                                                      19 result of Defendant’s alleged negligence, Michael Dorety was medically evacuated

                                                                      20 to a shoreside medical facility where he ultimately died after testing positive for

                                                                      21 COVID-19. (Am. Compl. ¶16 and 28). The First Amended Complaint does not

                                                                      22 allege that Susan Dorety sustained any personal injuries. (Compare Compl., ¶28

                                                                      23 (ECF No. 1); and Am. Compl., ¶¶ 33-35 (ECF No. 32)).

                                                                      24         The First Amended Complaint should be dismissed for several reasons. First,
                                                                      25 Plaintiff Susan Dorety does not allege any individual personal injury damages.

                                                                      26 Despite allegations as to her individual capacity within both the Negligence and
                                                                      27 Gross Negligence causes of action, Susan Dorety does not allege any personal injury

                                                                      28 damages on behalf of herself as an individual resulting from the alleged negligence.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-03507-RGK-SK
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                                                                       1 (See Am. Compl., ¶¶ 18, 22, 25, 26, 27, 28, 31, and 32.) As Susan Dorety has not

                                                                       2 alleged any damages as an individual relating to her negligence claim, she fails to

                                                                       3 allege the elements of a Negligence (and Gross Negligence) claim.

                                                                       4         Second, regardless of whether the Death on the High Seas Act (“DOHSA”) or
                                                                       5 California state law applies, Plaintiffs have failed to plead sufficient facts to

                                                                       6 establish standing. Plaintiffs have pled no facts establishing that Susan Dorety has

                                                                       7 been appointed the personal representative of the Estate of Michael Dorety or that

                                                                       8 Susan Dorety is Michael Dorety’s successor in interest.

                                                                       9         Third, Plaintiffs’ Complaint is an impermissible shotgun pleading that runs
                                                                      10 afoul of Rule 8’s pleading requirement. This independent basis for dismissal
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                                                                      11 deprives Defendants of knowing exactly what they are accused of doing wrong.
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                                                                      12         The Court should dismiss the First Amended Complaint and Plaintiffs’ claims
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                                                                      13 against PRINCESS.
                                   ENCINITAS, CA 92024




                                                                      14 II.     LEGAL STANDARD
                                                                      15         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
                                                                      16 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

                                                                      17 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                      18 above the speculative level, … on the assumption that all the allegations in the

                                                                      19 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                      20 plausibility standard “asks for more than a sheer possibility that a defendant has

                                                                      21 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that

                                                                      22 offers labels and conclusions or a formulaic recitation of the elements of a cause of

                                                                      23 action will not do.” Id.

                                                                      24         Federal Rule of Civil Procedure 8(a) states that in order for a pleading to state
                                                                      25 a claim for relief it must contain, “(1) a short and plain statement of the grounds for

                                                                      26 the court's jurisdiction, unless the court already has jurisdiction and the claim needs
                                                                      27 no new jurisdictional support; (2) a short and plain statement of the claim showing

                                                                      28 that the pleader is entitled to relief; and (3) a demand for the relief sought, which

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-03507-RGK-SK
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                                                                       1 may include relief in the alternative or different types of relief.”

                                                                       2 III.    MEMORANDUM OF LAW
                                                                       3       A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                       4         Plaintiffs have alleged that Defendant was negligent in failing to warn about
                                                                       5 the potential exposure to COVID-19 “during the sailing of said cruise,” and that

                                                                       6 Defendant failed to inform Plaintiffs of the risk of actual exposure to COVID-19

                                                                       7 “while they were already onboard.” (Am. Compl. ¶25.) Maritime law applies when

                                                                       8 “(1) the alleged wrong occurred on or over navigable waters, and (2) the wrong

                                                                       9 bears a significant relationship to traditional maritime activity.” Williams v. United

                                                                      10 States, 711 F.2d 893, 896 (9th Cir.1983). “‘[V]irtually every activity involving a
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                                                                      11 vessel on navigable waters” is a “traditional maritime activity sufficient to invoke
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                                                                      12 maritime jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080, 1087 (9th
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                                                                      13 Cir. 2005) ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co.,
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                                                                      14 513 U.S. 527, 542 (1995))). When a case falls within a court’s maritime jurisdiction,

                                                                      15 “ ‘[s]ubstantive maritime law’ ”—not state law—“controls the claim, ‘whatever the

                                                                      16 forum or asserted basis of jurisdiction.’ ” Adamson v. Port of Bellingham, 907 F.3d

                                                                      17 1122, 1125-26 (9th Cir. 2018) (alteration in original) (quoting Unigard Sec. Ins. Co.

                                                                      18 v. Lakewood Eng’g & Mfg. Corp., 982 F.2d 363, 366 n.1 (9th Cir. 1992)); see also

                                                                      19 Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1654 n. 10 (11th Cir. 1991)

                                                                      20 (“In maritime tort cases such as this one, in which injury occurs aboard a … ship

                                                                      21 upon navigable waters, federal maritime law governs the substantive legal issues.”).1

                                                                      22       B. Susan Dorety’s Individual Claims Fail to Adequately Plead Negligence
                                                                      23         A cause of action for negligence requires four elements: (1) duty, (2) breach,
                                                                      24 (3) causation, and (4) damages. See ProPortion Foods, LLC v. Master Prot., LP,

                                                                      25 2:19-CV-01768-R-AGR, 2019 WL 8137705, at *2 (C.D. Cal. Sept. 25, 2019)

                                                                      26
                                                                      27   Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime
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                                                                         law. See, https://www.princess.com/legal/passage_contract/plc.html at Section 1.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                        2:20-CV-03507-RGK-SK
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                                                                       1 (California law); Samuels v. Holland Am. Line-USA Inc., 656 F.3d 948, 953 (9th

                                                                       2 Cir. 2011) (maritime law). Though Plaintiff Susan Dorety purports to also sue in her

                                                                       3 individual capacity, she has failed to allege any individual damages stemming from

                                                                       4 Defendant’s alleged breach of duty to her individually, as opposed to Michael

                                                                       5 Dorety.

                                                                       6         Plaintiffs’ First Amended Complaint contains only two numbered paragraphs
                                                                       7 identifying what injuries and damages Plaintiffs are alleging. (See Am. Compl. ¶¶

                                                                       8 33 & 34.) First, Plaintiffs allege that Susan Dorety is a “wrongful death beneficiary”

                                                                       9 and that she “sustained and continues to sustain damages,” “as a result of the death

                                                                      10 of Michael Dorety.” (Id. at ¶33.) Second, Plaintiffs allege that “Susan Dorety seeks
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                                                                      11 damages for Michael Dorety’s conscious pain and suffering...from the time of the
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                                                                      12 occurrence to his death.” (Id. at ¶34.)
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                                                                      13         These claimed damages—which stem exclusively from Michael Dorety’s
                                   ENCINITAS, CA 92024




                                                                      14 death—have no causal relation to Plaintiff’s underlying allegations that Defendant

                                                                      15 “owed Susan” Dorety a “duty,” and that Defendant “failed to adequately warn

                                                                      16 Susan” or “failed to inform Susan.” (See Am. Compl. ¶¶ 18, 25, and 26.) In other

                                                                      17 words, while Susan Dorety has arguably pled duty and breach, she has not pled any

                                                                      18 individual damages based upon that breach. Having failed to plead damages,

                                                                      19 Plaintiff Susan Dorety also fails to satisfy the element of causation. It is axiomatic

                                                                      20 that to establish causation of damages, one must plead damages. Susan Dorety

                                                                      21 cannot establish a colorable negligence claim without alleging what her damages

                                                                      22 were and how they were caused. “To survive a motion to dismiss a plaintiff must

                                                                      23 provide the grounds of his entitlement to relief.” Professor Brainstorm, LLC v.

                                                                      24 Aronowitz, CV0905644RGKSSX, 2009 WL 10675891, at *3 (C.D. Cal. Dec. 8,

                                                                      25 2009). Because Plaintiffs have failed to allege damages causally related to the

                                                                      26 alleged negligence, Susan Dorety’s individual claims of Negligence and Gross
                                                                      27 Negligence must be dismissed for failure to state a claim.

                                                                      28 / / /

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                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-03507-RGK-SK
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                                                                       1      C. Plaintiffs Have Not Alleged Sufficient Facts to Establish Standing to
                                                                       2         Bring a Wrongful Death Claim
                                                                       3         Plaintiffs have failed to plead the required facts to establish standing for a
                                                                       4 wrongful death claim under any legal schema. Regardless of whether the Death on

                                                                       5 the High Seas Act (“DOHSA”) or California state law applies, Plaintiffs have failed

                                                                       6 to plead sufficient facts to establish that Susan Dorety has been appointed the

                                                                       7 personal representative of the Estate of Michael Dorety or that Susan Dorety is

                                                                       8 Michael Dorety’s successor in interest. The Court need not determine which law

                                                                       9 applies at this time in order to conclude that Plaintiffs have failed to plead the

                                                                      10 required facts to establish standing.
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                                                                      11         The Death on the High Seas Act (“DOHSA”) provides that only “the personal
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                                                                      12 representative of the Decedent may bring a civil action in admiralty against the
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 person or vessel responsible,” and that such action “shall be for the exclusive benefit
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                                                                      14 of the Decedent’s spouse, parent, child, or dependent relative.” 46 U.S.C.A. §30302

                                                                      15 (West). “When the incident takes place outside the three-mile limit, DOHSA and

                                                                      16 DOHSA alone controls. By authorizing only certain surviving relatives to recover

                                                                      17 damages, and by limiting damages to the pecuniary losses sustained by those

                                                                      18 relatives, Congress provided the exclusive recovery for deaths that occur on the high

                                                                      19 seas.” Helman v. Alcoa Global Fasteners, Inc., 843 F. Supp. 2d 1038, 1041 (C.D.

                                                                      20 Cal. 2011) (internal citations omitted); See also Bodden v. American Offshore, Inc.,

                                                                      21 681 F.2d 319, 329 (5th Cir.1982); Dooley v. Korean Air Lines Co., Ltd., 524 U.S.

                                                                      22 116, 123, 118 S.Ct. 1890, 141 L.Ed.2d 102 (1998). A “personal representative is by

                                                                      23 definition a court-appointed executor or administrator of an estate, not merely an

                                                                      24 heir.” Helman v. Alcoa Global Fasteners, Inc., 843 F. Supp. 2d 1038, 1042 (C.D.

                                                                      25 Cal. 2011) (internal citations and quotations omitted). In Helman, the court deemed

                                                                      26 plaintiffs who alleged standing as “individuals,” as “successors-in-interest” and
                                                                      27 through their “guardian ad litem” lacked standing to bring DOHSA claims. Courts

                                                                      28 have uniformly recognized, a “personal representative” is an individual “empowered

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03507-RGK-SK
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                                                                       1 by law to administer the decedent’s estate.” In re Air Crash Disaster Off Coast of

                                                                       2 Nantucket Island, Massachusetts on October 31, 1999, No. MD-00-1344 (BMC),

                                                                       3 2010 WL 1221401, *5 (E.D.N.Y. Mar. 29, 2010); see also Alcabasa v. Korean Air

                                                                       4 Lines Co., Ltd., 62 F.3d 404, 407 (D.C. Cir. 1995) (“[A] ‘personal representative’ is

                                                                       5 by definition a court-appointed executor or administrator of an estate, not merely an

                                                                       6 heir,” citing Brigg v. Walker, 171 U.S. 466 (1898)).

                                                                       7         Here, Plaintiffs have not alleged that Susan Dorety has been appointed the
                                                                       8 personal representative of the estate of Michael Dorety. Plaintiffs therefore have not

                                                                       9 alleged facts to support standing for the purpose of bringing a DOHSA claim on

                                                                      10 behalf of the Estate of Michael Dorety.
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                                                                      11         Standing is also lacking even if DOHSA does not apply. “Where there is no
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                                                                      12 personal representative for the estate, the decedent’s ‘successor in interest’ may
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 prosecute the survival action if the person purporting to act as successor in interest
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                                                                      14 satisfies the requirements of California law.” Tatum v. City and County of S.F., 441

                                                                      15 F.3d 1090, 1094, n.2 (9th Cir. 2006). To satisfy California’s requirements, a plaintiff

                                                                      16 must submit an affidavit or declaration attesting to the fact that he or she is the

                                                                      17 decedent’s successor in interest and attach the decedent’s death certificate. Cal. Civ.

                                                                      18 Proc. §377.32; see also Almarou v. Robbins, CV 18-04908-CJC, 2019 WL 7945592,

                                                                      19 at *2 (C.D. Cal. Nov. 5, 2019). A plaintiff bears the burden of demonstrating that

                                                                      20 they meet the requirements for bringing a survival action. Byrd v. Guess, 137 F.3d

                                                                      21 1126, 1131 (9th Cir. 1998), overruled on other grounds by Nicholson v. City of Los

                                                                      22 Angeles, 935 F.3d 685, 696 (9th Cir. 2019); see also Almarou, 2019 WL 7945592, at

                                                                      23 *2.

                                                                      24         The First Amended Complaint incorporates none of the required affidavits or
                                                                      25 declarations delineated above. Plaintiffs have neither alleged that Susan Dorety is

                                                                      26 the personal representative of the Estate of Michael Dorety, nor have they alleged in
                                                                      27 any meaningful way that Susan Dorety is the successor in interest to Michael

                                                                      28 Dorety. Additionally, Plaintiffs have not submitted the required affidavit or

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03507-RGK-SK
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                                                                       1 declaration. The First Amended Complaint thus does not allege sufficient facts to

                                                                       2 establish Susan Dorety’s standing to bring a wrongful death claim on behalf of

                                                                       3 Michael Dorety.

                                                                       4         For the foregoing reasons, the claims on behalf of Michael Dorety’s Estate
                                                                       5 should be dismissed without prejudice and with leave to amend once Plaintiffs can

                                                                       6 establish that either Susan Dorety or someone else has lawsuit standing to bring

                                                                       7 such claims.

                                                                       8      D. The First Amended Complaint Is an Impermissible Shotgun Pleading
                                                                       9         The Court should also dismiss the First Amended Complaint because it is a
                                                                      10 shotgun pleading. Plaintiffs have incorporated, in each of their claims, all of the
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                                                                      11 previous paragraphs in the Complaint. (See Am. Compl. ¶ 29.) This practice of
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                                                                      12 “shotgun” pleading has been censured by the courts. See Spindler v. California, CV
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                                                                      13 18-8712-JLS(E), 2020 WL 2559442, at *5 (C.D. Cal. Jan. 20, 2020); see also
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                                                                      14 Stanislaus Food Products Co. v. USS-POSCO Industries, 2010 WL 3521979, at *31

                                                                      15 n.16 (E.D. Cal. Sept. 3, 2010) (“Allegations, however, which incorporate each

                                                                      16 preceding paragraph, regardless of relevancy, are not permitted.”); Destfino v.

                                                                      17 Kennedy, 2008 WL 4810770, at *3 (E.D. Cal. Nov. 3, 2008), aff'd, 630 F.3d 952

                                                                      18 (9th Cir. 2011) (“This practice [of wholesale incorporation of prior allegations] has

                                                                      19 been harshly criticized as a form of ‘shotgun pleading’ which violates Rule 8's

                                                                      20 requirement of a ‘short and plain statement’ and interferes with the court's ability to

                                                                      21 administer justice.”) (citation omitted); Sollberger v. Wachovia Securities LLC,

                                                                      22 2010 WL 2674456, at *4-5 (C.D. Cal. June 30, 2010) (shotgun pleading whereby

                                                                      23 each count incorporates every antecedent allegation by reference “deprives

                                                                      24 Defendants of knowing exactly what they are accused of doing wrong,” and “alone

                                                                      25 warrants dismissal”). “The Court has recognized that allowing shotgun pleadings

                                                                      26 would lead to many negative consequences.” See Sollberger, 2010 WL 2674456, at
                                                                      27 *4, see also Mason v. County of Orange, 251 F.R.D. 562, 563–64 (C.D.Cal.2008)

                                                                      28 (quoting Anderson v. District Board of Trustees, 77 F.3d 364, 366–67 (11th

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03507-RGK-SK
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                                                                       1 Cir.1996)) (“[E]xperience teaches that, unless cases are pled clearly and precisely,

                                                                       2 issues are not joined, discovery is not controlled, the trial court's docket becomes

                                                                       3 unmanageable, the litigants suffer, and society loses confidence in the court's ability

                                                                       4 to administer justice.”). Here Plaintiffs’ incorporation of all preceding paragraphs is

                                                                       5 violative of Rule 8’s pleading requirements and therefore warrants dismissal.

                                                                       6 IV.     CONCLUSION
                                                                       7         For the foregoing reasons, Defendant requests that the Court grant its Motion
                                                                       8 and dismiss this case.

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                                                                           DATED: July 9, 2020                   MALTZMAN & PARTNERS
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